      Case 1-19-40173-ess        Doc 22     Filed 04/02/19      Entered 04/02/19 11:10:22




                          UNITED STATES BANKRUPTCY COURT
                             Eastern DISTRICT OF NEW YORK

 In re: Edith Astudillo
                Debtor
                                                                  Case Number 19-40173
 Address: 87-25 Kingston Place Jamaica, NY 11432

 Last four digits of Social-Security or Individual Tax-Payer-
                                                                  Chapter 13
 Identification (ITIN) No(s).,(if any): 7006

 Employer Tax-Identification (EIN) No(s).(if any):



                          OBJECTION TO CONFIRMATION OF PLAN

Rushmore Loan Management Services, LLC, a secured creditor (hereinafter “Secured Creditor”)
of the debtor(s) in this case, objects to the confirmation of the chapter 13 plan proposed by the
Debtor(s) and filed on January 24, 2019 and as grounds therefore would show the court that the
plan does not provide for the Secured Creditor to receive the value of its claim in violation of 11
U.S.C. § 1325(a)(5)(B)(ii).

WHEREFORE, Secured Creditor prays that the court sustain its objection and deny confirmation
of the debtors plan and for such other relief as is just and equitable.

Dated: April 2, 2019
Rockville Centre, New York
                                                                                 _/S/ Ted E. May_
                                                                           By: Ted Eric May, Esq.
                                                                  Sheldon May & Associates, P.C.
                                                                    Attorney for Secured Creditor
                                                                                255 Merrick Road
                                                                Rockville Centre, New York 11570
                                                                                  (516) 763 - 3200
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 Employer Tax-Identification (EIN) No(s).(if any):



      Affidavit of Service of the Notice of Appearance and Request for Service of Papers

State of New York, County of Nassau ) ss.:

       I, the undersigned, being duly sworn, deposes and says:

        (1) I am not a party to this action; (2) I am employed by Sheldon May & Associates, P.C.
in the County of Nassau, State of New York; and (3) I am over the age of 18 and not a party to
the within action.

       On April 2, 2019, I served the Objection to Confirmation of the Plan, by depositing a true
copy thereof in a post-paid wrapper, in an official depository under the exclusive care and
custody of the United States Postal Service within New York State, addressed to each of the
following persons at the last known address set forth after each name:

 Debtor               Edith Astudillo87-25 Kingston Place Jamaica, NY 11432
 Debtor’s Attorney    PRO SE
 Trustee              Marianne DeRosa 100 Jericho Quadrangle Suite 127 Jericho, NY 11753

                                                                    /S/ Kara Silva

Sworn to before me this
2nd day of April, 2019
/S/ Jessica S Snyder
Notary Public, State of New York
No. 01SN5085564
Qualified in Nassau County
My Commission Expires Sept 29, 2019
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CASE NUMBER: 19-40173




                                United States Bankruptcy Court
                                 Eastern District of New York



In Re:
     Debtor: Edith Astudillo                     Social Security Number: XXX-XX--7006
     Debtor:                                     Social Security Number: XXX-XX--

Chapter: 13

Employer’s Tax Identification Number (if any):



                                   Objection to Confirmation




                                Sheldon May & Associates, P.C.
                                 Attorneys for Secured Creditor
                                 Office and Post Office Address
                                       255 Merrick Road
                               Rockville Centre, New York 11570
                                       Telephone Number
                                        (516) 763 - 3200
